                               Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 1 of 10


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 provided by local rul'es of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 tr~l Jii~cM~TIFFS                                                                                                DEFENDANTS
                                                                                                                Financial Business and Consumer Solutions, Inc. a/k/a
                                                                                                                                                                                                           .
                                                                                                                FBCS, Inc.

     (b)                                                                                                          County of Residence of First Listed Defendant
                                                                                                                                                     (JN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

     (c) Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
 Antranig Garibian, Esq. Garibian Law Offices, PC
 1800 JFK Blvd, Suite 300, ~delphia, PA 19103
 215-326-9179 ag@garibia

 II. BASIS OF JURIS                                    '/ace an "X" in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box.for Plaintiff
                                                                                                             (For Diversity Cases Only)                                                           and One Box.for Defendant)
 0 1    U.S. Government                                                                                                               PTF                 DEF                                                    PTF      DEF
           Plaintiff                                 (U.S. Govemment Not a Party)                       Citizen of This State          0 1                 0         1       Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                               of Business In This State

 0 2    U.S. Government                    0 4    Diversity                                             Citizen of Another State         0 2               0        2        Incorporated and Principal Place                             0 5      0 5
           Defendant                                (Indicate Citizenship ofParties in Item III)                                                                                of Business In Another State

                                                                                                                                         0 3               0         3       Foreign Nation                                                0 6     0 6

                                                                                                                                                            Click here for: Nature of Suit Code Descriotions.
                                                                                                                                                             BANHR1ill'TCY , TL            O'PHJl;R STATU'F.E
 0   110 Insurance                          PERSONAL INJURY                  PERSONAL INJURY            0 625 Drug Related Seizure               0 422 Appeal 28 USC 158                                                0 3 7 5 False Claims Act
 0   120 Marine                        0 3 l 0 Airplane                  0 365 Personal Injury -              of Property 21USC881               0 4 23 Withdrawal                                                      o   376 Qui Tarn (31 use
 0   130 Miller Act                    0 315 Airplane Product                  Product Liability        0 690 Other                                             28    use 157                                                   3729(a))
 0   140 Negotiable Instrument                    Liability              0 367 Health Care/                                                                                                                             0   400 State Reapportionment
 0   150 Recovery of Overpayment       0 320 Assault, Libel &                  Pharmaceutical                                                    ·"",·.,"',;p"'R""o"""t"'i!l"'R""q;v"',"';.Rl=G"'H"'T"'·s"'0"':r.--1I
                                                                                                                                               "'I                                                                      o   410 Antitrust
          & Enforcement of Judgment               Slander                      Personal Injury                                                                                                                          0   430 Banks and Banking
 0   151 Medicare Act                  0 330 Federal Employers'                Product Liability                                                                                                                        0   450 Commerce
 0   152 Recovery of Defaulted                    Liability              0 368 Asbestos Personal                                                                                                                        0   460 Deportation
          Student Loans                0 340 Marine                             Injury Product                                                                                                                                0 Racketeer Influenced and
          (Excludes Veterans)          0 345 Marine Product                    Liability                                                         ~ u~v uauw•=~
 0   15 3 Recovery of Overpayment                Liability                PERSONAL PROPERTY                 . . Jr<· LAIJOI{                                    ' ' •·•       :••                                  l    0 48
          of Veteran's Benefits        0    350MotorVehicle              0 3700therFraud                0   710FairLaborStandards                0    861      HIA(l395ff)                                  -
 0   160 Stockholders' Suits           0    355 Motor Vehicle            0 371 Truth in Lending                 Act                              0    862      Black Lung (923)
 0   190 Other Contract                         Product Liability        0 380 Other Personal           0   720 Labor/Management                 0    863      DIWC/DIWW (4
 0   195 Contract Product Liability    0    360 Other Personal                 Property Damage                  Relations                        0    864      SSID Title XVI
 0   196 Franchise                              Injury                   0 385 Property Damage          0   740 Railway Labor Act                0    865      RSI (405(g))
                                       0    362 Personal Injury-               Product Liability        0   751 Family and Medical
                                                Medical Malpractice                                             Leave Act
         RENL.PROl'Ell\l'Y .... A           •. CIVlL·lUGH'rS,,;,.:,:1:.· 'l'ltil80NERPE°Tl'llI0NS"      0   790 Other Labor Litigation
 0   2 l 0 Land Condemnation           0    440
                                             Other Civil Rights              Habeas Corpus:             0 79 l Employee Retirement               0 870 Taxes (U.S. Plaintiff                                            0 896 Arbitration
 0   220 Foreclosure                   0    441
                                             Voting                      0   463 Alien Detainee                 Income Security Act                     or Defendant)                                                   0 899 Administrative Procedure
 0   230 Rent Lease & Ejectment        0    442
                                             Employment                  0   510 Motions to Vacate                                               0 87 l IRS-Third Party                                                       Act/Review or Appeal of
 0   240 Torts to Land                 0    443
                                             Housing/                            Sentence                                                               26 USC 7609                                                           Agency Decision
 0   245 Tort Product Liability              Accommodations              0   530 General                                                                                                                                0 950 Constitutionality of
 0   290 All Other Real Property       0 445 Amer. w/Disabilities -      0   535 Death Penalty                IMMIGRATIOJV I                                                                                                  State Statutes
                                             Employment                      Other:                     0 462 Naturalization Application
                                       0 446 Amer. w/Disabilities -      0   540 Mandamus & Other       0 465 Other Immigration
                                             Other                       0   550 Civil Rights                   Actions
                                       0 448 Education                   0   555 Prison Condition
                                                                         0   560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement

                    (Place an "X" in One Box Only)
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                                   State Court                          Appellate Court                 Reopened                   Another District                                        Litigation -                                Litigation -
                                                                                                                                   (specifY)                                               Transfer                                    Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              Fair Debt Collection Practices Act - 15 USC Sect. 1692 et sea.
                                             Brief description of cause:
                                              lmorooer collection efforts reaardina overshadowina and dece ·tive debt collection letter
 VII. REQUESTED IN     0                           CHECK IF THIS JS A CLASS ACTION                          DEMAND $                                                  CHECK YES only if demanded in complaint:
      COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                                          JURY DEMAND:          0 Yes      ONo
 VIII. RELATED CASE(S)
                                                  (See instn1ctions):
       IF ANY                                                            JUDGE                                                                        DOCKET NUMBER
 DATE                                                                        SIGN ATU
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 FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT                                       APPL YING IFP                                 JUDGE                                                        MAG.JUDGE


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                            Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 2 of 10

     ~'\~s~~
              ~\
                       _\                                     UNITED STATES DISTRICT COURT
     ftttf'EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by couusel to indicate the category of the case for the purpose
                                                                                                                                                   17                33
                                                                                                                                                                            o~ 3
assignment to appropriate calendar.

Address of Plaintiff:   22 Forest Lane, Levittown' PA 19055
Address ofDefendant:330          S Warminster Rd , Ste                 353,    Hatboro, PA           19040

Place of Accident, Incident or Transaction: ;:,ee t='lalntlTT      aa~&'!e~~verse Side For Additional Space)                                   •


Does this civil action involve a nongovernmental corporate· party with any parent corporation and any publicly held corporation owning                more of its stock?
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                 YesD

Does this case involve multi district litigation possibilities?                                                                  Yeso        olX
RELATED CASE, IF ANY:
Case Number:                                        Judge                                            Date Terminated: - - - - - - - 1 - - 1 - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this cou
                                                                                                                                YesD
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously
   action in this court?
                                                                                                                                YesD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one yea1previo~sly
      terminated action in this court?                                                                                           YesD        NolX


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD


CNIL: (Place        t/ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                               B. Diversity Jurisdiction Cases:
 l. o Indemnity Contract, Marine Contract, and All Other Contracts                                       1. o Insurance Contract and Other Contracts
 2. o FELA                                                                                               2. o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                          3. o Assault, Defamation
 4. o Antitrust                                                                                          4. o Marine Personal Injury
 5. o Patent                                                                                             5. o Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                         6. o Other Personal Injury (Please specify)
 7. o Civil Rights                                                                                       7. o Products Liability
 8. o Habeas Corpus                                                                                      8. o Products Liability -          Asbestos
                                                                                                         9. o All other Diversity Cases
             S\cial Security Review Cases                                                                         (Please specify)
       ?I(   Ah other Federal Question Cases
                             Fair Debt Collection Practices

                                                                  ARBITRATION CERTIFICATION
                                                                         (Check Appropriate Category)
I,                                                            counsel of record do hereby certify:
   D Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
   o Relief other than monetary damages is sought.

DATE:        ~~~~~~~~~




                                                          Attorney-at-Law                                                          Attorney I.D.#
                                         NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court



                                                   ~~                                                                                     ~f
except as noted above.

DATE:~ lo
                                                    Af:Sry:it:LllW                                                                   Attorney I.D.#
CN. 609 (5/2012)
                                                                                                                                               JUl 1B 10'1
            Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 3 of 10


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM
Erika Dilworth
                                                                            CIVIL ACTION
                       v.                                                                                             .
Financial Business & Consumer Solutions, Inc.
a/k/a FBCS, Inc.                                                            NO.    1'1               3393
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                    ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                         ( )

(c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.              ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                  ( )
(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management-Cases that do not fall into any one of the other tracks.


 )\~(n
Date
                                                                  Erika Dilworth
                                                                        Attorney for
                                 267-238-3701                        ag@garibianlaw.com
215-326-9179

Telephone                           FAX Number                          E-Mail Address


(Civ. 660) 10/02




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      )......_   <'                                UNITED STATES DISTRICT COURT
                      ·'-._.
                                                 EASTERN DISTRICT OF PENNSYLVANIA

                 ERIKA DILWORTH
                                                                                               COMPLAINT
                                                                 Plaintiff( s),
                                                                                               C.A.No.1~
                                                                                                                     339S
                                -v.-
                 FINANCIAL BUSINESS AND CONSUMER
                 SOLUTIONS, Inc. a/k/a FBCS, Inc.

                                                               Defendant.

                               Plaintiff Erika Dilworth ("Plaintiff'' or "Dilworth") by and through her attorneys, Garibian

           Law Offices, P.C., as and for her Complaint against Defendant Financial Business and Consumer

           Solutions, Inc. a/k/a FBCS, Inc. ("Defendant" or "FBCS, Inc.") respectfully sets forth, complains

           and alleges, upon information and belief, the following:

                                                                INTRODUCTION

                                 1.    Plaintiff brings this action for damages and declaratory and injunctive relief arising

                           from the Defendant's violation(s) of section 1692 et. seq. of Title 15 of the United States Code,

                           commonly referred to as the Fair Debt Collections Practices Act ("FDCP A").

                                                                     PARTIES

                                2.     Plaintiff is a resident of the Commonwealth of Pennsylvania, County of Bucks,

                           residing at 22 Forest Lane, Levittown, PA 19055.

                                3.     Defendant is a debt collector with a mailing address of 330 S Warminster Rd, Suite

                           353, Hatboro, PA 19040.

                                4.     Defendant is a "debt collector" as the phrase is defined in 15 U.S.C. § 1692(a)(6)_and

                           used in the FDCPA.




                                                                           1
    Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 5 of 10




    5.    Defendant was acting as a debt collector with respect to the collection of Plaintiff's

debt.

                            JURISDICTION AND VENUE

    6.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well as

15 U. S.C. § 1692 et. seq. The Court also has pendent jurisdiction over the State law claims in

this action pursuant to 28 U.S.C. § 1367(a).

    7.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                             FACTUAL ALLEGATIONS

    8.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

though fully state herein with the same force and effect as if the same were set forth at length

herein.

   9.     On information and belief, on a date better known to Defendant, Defendant began

collection activities on an alleged consumer debt from the Plaintiff ("Alleged Debt").

    10.   This debt was incurred as a financial obligation that was primarily for personal,

family or household purposes and is therefore a "debt" as that term is defined by 15 U.S.C.

§ 1692a(5).

    11.   On or around June 21, 2017, Plaintiff received a collection letter from Defendant.

(See Exhibit A attached hereto.)

    12.   The collection letter offers Plaintiff discounted settlement options if she makes

payment within thirty (30) days, namely by July 21, 2017.
         Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 6 of 10




      13.       When a debt collector solicits payment from a consumer, it must, within five days of

   an initial communication, provide the consumer with a written validation notice which must

   include the following information:

            (1) the amount of the debt;

            (2) the name of the creditor to whom the debt is owed;

            (3) a statement that unless the consumer, within thirty days after receipt of the notice,

      disputes the validity of the debt, or any portion thereof, the debt will be assumed to be valid

      by the debt collector;

            (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

      day period that the debt, or any portion thereof, is disputed, the debt collector will obtain

      verification of the debt or a copy of the judgment against the consumer and a copy of such

      verification or judgment will be mailed to the consumer by the debt collector; and

            (5) a statement that, upon the consumer's written request within the thirty-day period, the

      debt collector will provide the consumer with the name and address of the original creditor,

      if different from the current creditor. 15 U.S.C. § 1692g(a).

This is known as the "G Notice."

        14.     While the June 21, 2017 letter contains the requisite "G-Notice," it is completely

    overshadowed by the earlier offers of settlement in the letter.

        15.     Specifically, the letter only gives Plaintiff 30 days to make a payment to receive the

    settlement offer which overshadows the fact that Plaintiff has 30 days to dispute and receive

    validation of the debt pursuant to the "G Notice."

        16.     Although a collection letter may track the statutory language, ''the collector

    nonetheless violates the Act if it conveys that information in a confusing or contradictory
            Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 7 of 10




     fashion so as to cloud the required message with uncertainty." Russell v. EQUIFAX A.R.S.,

     74 F.3d 30, 35 (2d Cir. 1996)

            17.   Requiring payment to accept a settlement plan in the same letter with the "G

     Notice" is confusing because the least sophisticated consumer would believe he only had the

     30 days to pay in order to receive the discounted settlement which overshadows his right to

     dispute the debt under the Fair Debt Collections Practices Act.

            18.   As a result of Defendant's deceptive, misleading and unfair debt collection

     practices, Plaintiff has been damaged.


                                     FIRST CAUSE OF ACTION
                                      (Violations of the FDCPA)

       19.        Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein with the same force and effect as if the same were set forth at length

   herein.

       20.        Defendant's debt collection efforts attempted and/or directed towards Plaintiff violate

   various provisions of the FDCPA, including but not limited to to 15 U.S.C. §§ 1692e, 1692e(2),

   1692e(l 0), 1692f and 1692g .

       21.        As a result of the Defendant's violations of the FDCP A, Plaintiff has been damaged

   and is entitled to damages in accordance with the FDCP A.

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff Erika Dilworth demands judgment from Defendant Financial Business

and Consumer Solutions, Inc. a/k/a FBCS, Inc., as follows:

       a)         For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)l};

       b)         For statutory damages provided and pursuant to 15 U.S.C. § 1692k(2)(A);
              Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 8 of 10




         c)      For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3);

         d)      A declaration that the Defendant's practices violated the FDCPA; and

         e)      For any such other and further relief, as well as further costs, expenses and

                 disbursements of this action as this Court may deem just and proper.



Dated:
              1(,)t,(t1                                Respectfully Submitted,

                                                       GARIBIAN LAW OFFICES, P.C.

                                                          ~~
                                                       Antral1igGaribi~, Esq.
                                                       PA Bar No. 94538
                                                       1800 JFK Boulevard, Suite 300
                                                       Philadelphia, PA 19103
                                                       ag@garibianlaw.com
                                                       Counsel for Plaintiff Erika Dilworth
Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 9 of 10




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                        Case 2:17-cv-03393-GJP Document 1 Filed 07/28/17 Page 10 of 10




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